          Case 1:23-cv-00335-ABJ Document 6 Filed 02/07/23 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

KRISTI L., on behalf of herself and                    )
her minor child, T.L.; et al.,                         )
                                                       )
               Plaintiffs,                             )
                                                       )
               -vs-                                    )        Civil Case No. 1:23-cv-335
                                                       )
NATIONAL AIR AND SPACE MUSEUM                          )
(“NASM”); et al.,                                      )
                                                       )
               Defendants.                             )

                                 APPEARANCE OF COUNSEL

To:    The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel
for:

       Kristi L., on behalf of herself and her minor child, T.L.;
       Christina Mills;
       Patrick Murphy;
       Mary H.;
       Jane Kihne;
       Kathleen Kihne;
       Morgan Mills;
       Sue K., on behalf of her minor child, J.K.;
       Peter H. on behalf his minor child, O.H.;
       Laurie T. on behalf of her minor child, B.T.; and
       Christopher Morris
       (collectively referred to as “Plaintiffs”).

Dated: February 7, 2023.                       Respectfully submitted,

                                               /s/ Stuart J. Roth
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